
The Supreme Court affirmed the decree of the Common. Pleas on November 28th, 1879, in the following opinion:
Per Curiam.
In affirming this decree, without giving an opinion on the merits, as has been the practice of this Court for several years,, we desire to say that if the want of an injunction affidavit had been objected in the Court below we would have reversed it. *229It is time that the proper practice in these cases should be understood and followed. It is easy to get any number of plaintiffs to swear to the best of their knowledge and belief to a formal instrument like a bill in equity. It is a very different matter to make an affidavitof the facts on deponent’s knowledge, .and if on information and belief whence such information and belief is acquired.
Decree affirmed, injunction continued and appeal dismissed at the cost of the appellants.
